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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

          v.
                                                                Criminal Action No. 23-257 (TSC)
 DONALD J. TRUMP,

                  Defendant.


                                              ORDER

       The Government sought leave to file under partial seal a Motion for Immunity

Determinations (“Motion”) and Appendix. ECF No. 246. After hearing objections from

Defendant, see ECF No. 248, the court granted that request with respect to the Motion but

reserved judgment with respect to the Appendix, ECF No. 251.

       Defendant has now filed an opposition objecting to unsealing any part of the Appendix.

ECF No. 259. As in his previous filing, he identifies no specific substantive objections to

particular proposed redactions. Instead, Defendant “maintains his objections” to any “further

disclosures at this time” for the same reasons he opposed unsealing the Motion, and he requests

that “[i]f the Court decides to release additional information relating to the Office’s filing, in the

Appendix or otherwise, . . . that the Court stay that determination for a reasonable period of time

so that [he] can evaluate litigation options relating to the decision.” Id. at 1–2. For the same

reasons set forth in its decision with respect to the Motion, ECF No. 251, the court determines

that the Government’s proposed redactions to the Appendix are appropriate, and that

Defendant’s blanket objections to further unsealing are without merit. As the court has stated

previously, “Defendant’s concern with the political consequences of these proceedings” is not a

cognizable legal prejudice. Id. at 4–5.

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       Accordingly, the Government’s Motion for Leave to File to Unredacted Motion Under

Seal, and to File Redacted Motion on Public Docket, ECF No. 246, is GRANTED with respect to

the Government’s proposed redacted version of the Appendix to the Government’s Motion for

Immunity Determinations. The court will grant Defendant’s request for a stay so that he can

“evaluate litigation options,” ECF No. 259 at 2, and hereby STAYS this decision for seven days.



Date: October 10, 2024

                                               Tanya S. Chutkan
                                               TANYA S. CHUTKAN
                                               United States District Judge




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